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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 17-cv-01654-MSK-NRN

   SAUNDERS-VELEZ,

   Plaintiff,

   v.

   COLORADO DEPARTMENT OF CORRECTIONS (CDOC),
   TRAVIS TRANI, in his official capacity as Director of Prisons,
   MIKE ROMERO, in his official capacity as Colorado Territorial Correctional Facility
   Warden,
   RICK RAEMISCH, in his official capacity as Executive Director of Colorado Department
   of Corrections,
   RYAN LONG, in his official capacity as Denver Reception and Diagnostic Center
   Warden,
   KELLIE WASKO, in her official capacity as Deputy Executive Director of Colorado
   Department of Corrections,
   DENVER RECEPTION AND DIAGNOSTIC CENTER (DRDC), and
   THE COLORADO TERRITORIAL CORRECTIONAL FACILITY (CTCF),

   Defendants.

                                       MINUTE ORDER

   Entered by Magistrate Judge N. Reid Neureiter

          In light of the parties’ Joint Status Report and Request to Continue the Stay (Dkt.
   #138), it is hereby ORDERED that the stay in this matter shall be continued through
   June 17, 2019, on which date the parties shall file another status report to appraise the
   Court whether mediation was successful, whether they believe further negotiations will
   be necessary, or whether the parties would like the Court to reset the discovery cut-off
   date and deadline for filing dispositive motions.

   Date: May 15, 2019
